Case No. 1:23-cv-01550-SBP..Document.13-7 _ filed 07/17/23. USDC Colorado pg 1 of 51

BENNETT, COLORADO, SUMMONS AND COMP! AINT

OR PENALTY ASSESSMENT

The Town of Bennett, Counties of Adams and Arapahoe

By and on behalf of the People of the State of Colorado vs.:

SUMMONS B
Agency: O+. .s°S.0. Arapahoe S.0. Other: TOR _
Agency Case # CE 99-0005 “CE22- 0014

1 SCHOOL OR SAFETY ZONE (FINES DOUBLED) 0 ACCIDENT (SUMMONS) (1 JUVENILE (SUMMONS) Parent Info:

Date of Violation (mm/dd/yy): 5 i i/ oo~

Time of Violation: 7 700 h ns

Defendant Name: (Last, First, Middle)

(fi H Epic

Approx. Location of Violation: j 4 ot ' 2 T
Coo j che, C
a

DOB: Gender: (M Yd F Rate: ft in Wt: Hair: Eyes: | Phone H: |
(mm/dd/yy) / / 1G
Address: Phone C
Colle 6 Pemet, CO 80107 Te) SCO GAGD |
DL#: a ST |VehLic# ‘ST Make Model Yr Color VIN
Cls/Type
MTC VIOLATION PT ORDINANCE | VIOLATION ___|
1204 Parked Vehicle on Where Prohibited by Signs or Markings 0 513 Curfew (10-6-20) =
14205 Parked Vehicle on Wrong Side of Road 0 514 Public Park Hours (11-5-120)
1208 Parked in Handicap Designated Parking Without Authorization 0 7-2-10 Debris Prohibited/Accumulation to Constitute a Nuisance
1503 Motorized Vehicles Restricted 0 7-5-30 Duty to Cut Weeds on Property
|__|: 237/236 Safety Belt Required Adult(237) Child(236) 0 7-7-20¢ Animals Running at Large
Speeding (5-9 mph over posted limit)___——sina___——ss mph
1101 Zone 1 7-7-70 Licensing of Dogs and Cats
1211(1)(a) | Unsafe Backing in Parking Area 1 7-7-80 Aggressive Animals
1211(1)(b) | Backed Vehicle on Shoulder or Roadway 2 7-7-90 Vicious Animals
202(1) Drove a Defective or Unsafe Vehicle 2 8-5-10 |) Parking & Storage Restrictions/Recreational Equipment.
204 Failed to Display Lighted Lamps When Required 2 | 10-4-10 Criminal Mischief __ |
608(1) Failed to Use Turn Signal(s) 2 10-4-50 Defacing Public/Private Property __ |
902/3) Made U-turn Where Prohibited 3 10-4-110 Theft
1007(1a) Failed to Drive in a Single Lane (Weaving) 3 10-4-120 Shoplifting
_| 603 Failed to Observe/Disregarded Traffic Control Signal or Device 4 10-5-30 Interference With an Educational Institution
1008(1) Following too Closely 4 10-5-40( ) Harassment
Speeding (10-19 mph over posted limit)___——ina mph
1101 Zone. 4 10-5-80 Assault _|
1402 Careless Driving 4 10-5-140 Throwing Stones, Missiles, Etc.
1409 Insurance Failed to Present Uninsured 4 |__| 10-7-30 Possession/Consumption of Alcohol by Underage Person
Speeding (20-39 mph over posted limit)____ina
1101 mph Zone 6 10-7-80 Po ion of Drug Paraphernalia
1401 Reckless Driving _ 0-7-100 Po ion of Cannabis by an Underage Person
M13 3-60 |Valawhul use or Acopuls tir, [elor))

ZO

x

O PENALTY ASSESSMENT - Payable by Mail

If this box is checked, payment of your fine by mail without a court
appearance is permitted. (See back of summons for instructions). If your
payment is received by mail or in person by 5:00 pm. on the business day
before your court date, you do not have to appear in Court and the
associated penalty points will be reduced as shown on the back of this
summons. If payment is not received you must appear on the court
date indicated. Without admitting guilt, | agree to comply with the
instructions on the reverse side of this summons or penalty assessment.

Total Points

Total Fine Amount:

If over four (4) =

Defendant Signature

(SUMMONS - Mandatory Court Appearance

Without admitting guilt, | promise to appear at the time and place indicated
below. (If you are under the age of 18 at the time of the court date listed below,
you must be accompanied by a parent or legal guardian when appearing in
court.)

Defendant Signature

COURT DATE
You are summoned and ordered to appear to answer charges stated above in:
Bennett Municipal Court, 207 Muegge Way, Bennett, CO 80102

ON 1 AX ACD 2 OAM M

Warning: If you fail to appear in response to this summons as ordered, a warrant will
be issued for your arrest.

Summons-Mandatory Appearance

See reverse side for point reduction provisions.

The undersigned has probable cause to believe that the defendant committed the offense(s)
against the peace and dignity of the Town of Bennett, State of Colorado and affirms that a
copy of this summons and complaint or Penalty Assessment was served upon the
defendant:

Date Issued: syn [3a-
al 2

Officer Name: A t Buna, l CSO

Badge# / 5 ‘ J za

Signat

1

COURT

Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 2 of 51

Neighborhond Services ' , Ss
Code Enforcement/Animal Contré ‘ a
Incident Report Bennett ;

Case#CE22-0019 Date/Time Reported: 5/17/22 4:40p Date/Time of Incident: 2/8/22

Location of Incident: 170 Coolidge Court Bennett County: Adams

Summons#: B6731 Charges: Unlawful Use or Acquisition | Court date: 6/22/22
(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

S| Name: Eric Witt Phone:720-496-9912

Address: 170 Coolidge Court City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

W | Name: Robert Sherer Phone:303-349-4791

Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

W | Name: Mark Cowlishaw Phone: 303-501-6568

Address: 207 Muegge Way City/State/Zip: Bennett, CO 80102

d.o.b: Hair: Eyes: Height: Weight: Race:

Statement: May 17°, 2022 | was assigned as a Community Services Officer for the Town of Bennett. At approximately
4:A0p | was advised by Mrs. Trish Stiles, Town Administrator, that Mr. Eric Witt of 170 Coolidge Court, Bennett,
Colorado 80102 needed to be summoned to court for violating Town Municipal Code 13-3-80 Unlawful Use or
Acquisition (water). | initiated an investigation into the incident and determined the following:

February 8", 2022 Mr. Mark Cowlishaw and Mr. Robert Sherer shut off the water supply to 170 Coolidge Court,
Bennett, Colorado 80102 due to non-payment of the water bill. On May 17*", 2022 Mr. Cowlishaw and Mr. Sherer
returned to the address and discovered the water had been turned back on at some point between the two dates. The
water was again shut off and an attempt, by Officer Keith Buono, was made to issue a summons to Mr. Witt but to no
avail. Mr. Witt was sent a summons by certified mail via the United States Post Office for a court date of June 22, 2022.
On May 23", 2022 | obtained Witness statements from Mr. Cowlishaw and Mr. Sherer pertaining to the incident at 170
Coolidge Court. They also advised that the water had been turned back on since the last shut off on May 17*, 2022,
and that it had been shut off again with a lock being placed on it to prevent further tampering. This incident referred to
the Community Services Supervisor for further review.

Officer Signature: . Date:
7 PAGE 1

Town of Bennett - 207 Muegge Way: Bennett, CO 80102 - 303-644-3249 - townofbennett.colorado.gov

Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 3 of 51

Neighborhood Services
Code Enforcement/Animal Control
Witness statement

Case# CEAQZ- OC Date/Time Reported: 5/17/22 4:40p | Date/Time of Incident: _;
A/G AP

Location of Incident: 170 Coolidge Court Type of Incident: Unlawful Use or Acquisition

(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

" mn Mark Oaus lis ota

Phone:

So0%~-~50!1-b65¢6%

Address: 7, O7 M ue i E LJ ay chy eB TL, Coe g ols 5
d.o.b: Hair: Eyes: Height: Weight: Race:
On ~£-2032 L shyt the water of F

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\al e Check ed OL ON = 5/7 / 202z eat Hi 0
water wac E vias ol oats. LT then
buened the szyater hack of F_ own
S-17- 2622. OA 5-28-2092 the Wate
was  tuers Pol back as C6 . tuene

tt hack of FE “ane ae a tee lock

OA) t+.

—

Witness Signature: Date:

Meh (. LL B~2I~ROdDW

PAGE 1

Town of Bennett: 207 Muegge Way: Bennett, CO 80102: 303-644-3249: townofbennett.colorado.gov
Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 4 of 51

Neighborhood Services
Code Enforcement/Animal Control
Witness statement

FA

Case# CE AR O09

Date/Time Reported: 5/17/22 4:40p

Date/Time of Incident: HY oo

Location of Incident: 170 Coolidge Court

Type of Incident: Unlawful Use or Acquisition

(W-Witness, S-Suspect, V-Victim, RP-Reporting Party, T/O-This Officer)

W | Name: , Phone:
Robert Sherer Bos-3yq - Y 74
Address: City/State/Zip: /
Zo7 Myesge @ ez y come ft Co Veoor
d.o.b: Hair: "| Eyes: Height: Weight: Race:
On Z -¥- 2077 the tater tras Shut off at [TO Coclidye

fer HOW, payment:

Qn 8-]1-@ett we Checked the

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On S23 ~b98E we checked fhe

pit end the trcter waesen

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And placed 4 padlock en the welee.

Witness Signature:

belt A-

Date:
owe z= Zé 22

PAGE 1

Town of Bennett - 207 Muegge Way: Bennett, CO 80102: 303-644-3249 ‘ townofbennett.colorado.gov

Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 5 of 51

BENNETT MUNICIPAL COURT
Summons #_CE 79 ~ CO75

The People of the State of } Waiver of Rights
Colorado and ) and plea of
County of Adams } (Guilty)
Town of Bennett ) (Not Guilty)

vs )

WH, Lric
}
Defendant )

Comes now the above defendant and is advised of the following rights pursuant to the above cited case:

| have knowledge of the following Rights:

To remain silent.
To have any statement made by me used against me at a Jater date.

1

2

3. lam presumed innocent.
4

5

| have a right to plead not guilty and have a trial to the Court.
| may put the Town to the burden of proving me guilty as to each charge and each element of that charge beyond a reasonable

doubt.
| have the right to engage counsel.

6.

7. To request a reasonable continuance.

8. To have Subpoenas issued by the court without expense, except cost of service, to compel attendance of witnesses.
9

( have the right to testify on my own behalf or remain silent, at my own sole discretion.

10. have the right to call witnesses on my own behalf.
i have the right to appeal according to rule 237 of the Colorado Municipal Court Rules of Procedure.

Any plea entered by me must be voluntary and not the result of undue influence or coercion on the part of anyone.

| further understand the possible maximum penalty is Two Thousand Six Hundred Fifty and no/100s ($2650.00), that if this is a traffic offense,
that penalty points may assessed against my driving privilege, and that if | plead not guilty, my case will be heard at trial within 90 days of
today’s date. With a full understanding of the rights | have, and possible penalties, | do plead as follows:

[| REQUEST to speak to Town Prosecutor. If trial is necessary, it is to be scheduled
Initial within 90 days of the date of my plea.
[ ] NOT GUILTY and request trial.
Initial
GUILTY ! enter the guilty plea freely and voluntarily, and with full knowledge
Initial of my waiver of the above stated rights and of the possible penalties.

Defendant Date
lf the defendant is under the age of eighteen (18) a parent or guardian must sign this plea.

Date

Parent or Guardian
Case No. 1:23-cv-01550-SBP Document 13-7 _ filed 07/17/23 USDC Col
Bennett Municipal Court Minute Order olorado pg 6 of St
AE: UZ, Erie

CASE #:, CEAA— 0005
DATE: (p 04-2

| PROSECUTOR
Pre-Trial Conference Held with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:

Points Fine

Count 1:
Amend to:

Count 2:
Amend to:

Additional Recommendations:

Stipulations:

JUDGE

Oo ACCEPT Prosecutor's recommendation and Defendant Plea
COURT COSTS (circle)

Oo REJECT Prosecutor's recommendation and Defendant Plea
Jury Trial ($25/$75)

oO ACCEPT Defendant Plea (No Prosecutor Requested)
Points Fine
| | cc | $35.00

Additional Order:
Count 1: D ETA. : SOE | $25.00
: pial osw | $30.00
Buf 1Ss aw | $75.00
oe Oe C* cs | $25.00

Additional
Points Fine
O 1); Default | $30.00
LSU PR TK
Count 2: fA ‘ | Deferred | $75.00
= FTA | $25.00
IAAL FIP | $25.00
Additional Conditions: B: C2-2e
Total Due $
COURT CLERK
TTL

ccs SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

DATE FINES

Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 7 of 51

BENNETT MUNICIPAL COURT
PAYMENT AGREEMENT & SENTENCE CONDITIONS

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

DEFENDANT NAME : Wi Enric CASE #6 2220005
Description Amount Due Note
Fine Amount $ 7 id
Court Cost $35 ELA Ms 0D 122
Stay of Execution $25
Deferred Judgment Fee $50 Months Review On:
Community Service $25 Hours Completed By:
Default Judgment Fee $30
Bench Warrant $75
Othe FIA
Pay Today: and/or
P : th
TOTAL DUE $ ayment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS
Class DAlcohol /Drug .
O Theft Day/Hours Completed By.
x Month
Drug Testing/UA For .
L_ months Completed By:
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant

Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
or can be made online with a credit card at www. TownofBennett.org. Please note there is a

transaction fee for all credit card payments.

COURT CLERK

DATE FINES ccs SOE FEES

FEES TILDUE |PAYMENT| BALANCE |INITIALS/NOTES

Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 8 of 51

BB
Bennett]

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

June 28, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,
Please find the attached bench warrant for your arrest.

You were issued summons citation number #B6731 for violating one (1) count of BMC Ordinance 13-3-80 Unlawful Use
or Acquisition (water). You failed to appear for your hearing on June 22, 2022 at 6:00 p.m. to comply with a court order
by that date, or contact the court regarding options; Judge Ausmus issued the warrant for your arrest. The Judge ordered a
PR bond in the amount of $500 on your case. You have four options at this point:

1. You may turn yourself in, at any time, to the Adams County Police Department. Make sure to have the bond
money on you or with another person who can bond you out, in order to avoid spending time in jail. A bail
bondsman may act as a surety. In certain circumstances, you may be eligible for a personal recognizance bond if
you are unable to pay your bond. Once the bond is paid, we will clear the warrant and set you a bond return
hearing where you will appear before the judge to have penalties assessed. If the penalties are less than your bond
amount, we will return the remainder of the bond by mail.

2. Turn yourself in on a court date at the Bennett Municipal Court office, 207 Muegge Way, Bennett, CO. You will
need to contact the court for the date and time of the next court date.

3. You may also pay your bond directly to the Bennett Municipal Court under prearranged conditions. If you are
living out of state, you can pay on-line at the https://www.colorado. gov/townofbennett website. Once the bond is
paid, we will clear the warrant and set you for a bond return hearing. For out of state defendants, the court may
process the case with a plea by mail. If you have any questions regarding your warrant, please contact the court.

4. You may contact the court in writing explaining your failure to appear and request that the bench warrant be
vacated and a resetting of your court date. Within your written explanation, you must provide your current
address and phone number. In your written explanation, you may request that the current cash or surety bond
be converted into a Personal Recognizance Bond (PR Bond) which would require you to appear at the next
available court date. However, it would be left up to the Court to grant a PR Bond. If the Court grants your
request for a PR Bond, you would be required to appear at the Bennett Town Hall to sign the PR Bond
paperwork within two business days upon notification. Ifthe court denies your request for a PR Bond, you
would be required to post either a cash or surety bond.

Christina Hart
Bennett Municipal Court Clerk
Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23. USDC Colorado pg 9 of 51

IN THE MUNICIPAL COURT OF THE TOWN OF BENNETT
COUNTIES OF ADAMS AND ARAPAHOE, STATE OF COLORADO

CASE NO.: CE22-0005

SUMMONS #86731 _ ee .
- BENCH WARRANT —
STATE OF COLORADO
COUNTIES OF ADAMS AND ARAPAHOE )
TOWN OF BENNETT )
) THE PEOPLE OF THE STATE OF COLORADO
VS.
Witt, Eric

TO ANY AUTHORIZED LAW ENFORCMENT OFFICER OF THE AFORESAID MUNICIPALITY:

WHEREAS, Officer Buono has heretofore made complaint and summons has been issued commanding
Witt, Eric, Defendant, to appear in this court and whereas said Defendant failed to appear on 1 count

of Ordinance 13-3-80 Unlawful Use or Acquisition (water).

You are therefore commanded to forthwith arrest the above-named Defendant and bring hinvher before
a judge in said Municipal Court of the Town of Bennett, 207 Muegge Way, Bennett, Colorado 80102 to
be dealt with according to the law, hereof fail not at your peril. In accordance with Colorado law, the
Defendant shal] be scheduled for a bond hearing no less than 2 days, excluding Sundays & Federal
Holidays, following notice to this court that the Defendant is in custody. In the event such hearing does
not occur, the bond herein shall be immediately amended to a personal recognizance bond.

Given under my hand and seal this 27" day of June A.D. 2022
Dated: June 27, 2022

*Per 13-10-11 15. C.RS., if defendant i is being held solely on the basis ofa municipal hold, defendant shall be reteased on

ici al ¢ UI .weithi two (2) calendar

defendant shall be relea = al a PR bond if the corr does oa “hold a ‘hearing within four 4) ae days of bri nan notified
by the jail of the municipal hold, excluding Sundays an and Federal Holidays.

THE DEFENDANT IS TO BE ADMITTED TO BAIL IN THE SUM OF $500 PR Bond

DEFENDANT INFORMATION: _Eric Witt
LK ADDRESS: 170 Coolidge Court, Bennett, Colorado 80102

Phone: 720-560-8282

DOB: UK. HGT: U/K WGT: U/K Sex: M

EYES: U/K HAIR: U/K RACE: U/K
VEH LIC#: U/K DRIV LIC#: U/K
Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 10 of 51

iM Gmail Christina Hart <chart@bennett.co.us>

CASE # CE22-0005 BENCH WARRENT

2 messages

Eric Witt <ericwitt34@gmail.com> Tue, Jul 26, 2022 at 9:13 AM
To: "chart@bennett.co.us" <chart@bennett.co.us>

Hello,
My name is Eric Witt. | am requesting the bench warrent for case number CE22-0005 be vacated. | was unaware | had court to attend. I did speak with

an employee from the town of bennett that had left a note on my door to contact. | attempt contact and then got a response after a few days. | was informed
there was a summons being mailed to me. | explained I was confused about the situation and was told the summons would come in the mail. | kept an eye

out for it and never was never served or received it via mail.
lam a single dad with custody and it would be detramental to my child for me to get arrested. | will go to court anytime | get a summons. If vacated and a

rescheduled court date is issued. | will absolutely show up. So I am requesting to please vacate this bench warrent.
Thank you,

Eric Witt
170 Coolidge Ct, Bennett, CO 80102

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 1:06 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court administrator will contact the Municipal Judge's with your request. You will be contacted regarding your case once the
Judge has responded.

Respectfully,
Christina

a4 Christina Hart | Town Clerk
Bennétt|| 207 Muegge Way | Bennett CO, 80102
—. (303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

[Quoted text hidden]
Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 11 of 51

i; Gmail Christina Hart <chart@bennett.co.us>

RE: Witt, Eric - 6-22-2022 FTA / BW Issued

3 messages

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 3:33 PM
To: Andy Ausmus <andy@ausmuslaw.com>
Cc: "Day, Shawn" <sday@auroragov.org>, Joe Lico <ninewords@msn.com>

Greetings,

Mr. Witt failed to appear for his June 22 arraignment. He was charged with violating BMC 13-3-80 Unlawful Use or Acquisition (water).

A bench warrant was issued with a $500 PR bond. Mr. Witt received notification of the bench warrant.

Mr. Witt contacted the court yesterday requesting the bench warrant be vacated. Please provide direction on how the court should proceed.

Respectfully,
Christina

Christina Hart | Town Clerk

207 Muegge Way | Bennett CO, 80102
(303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

Day, Shawn <Sday@auroragov.org> Tue, Jul 26, 2022 at 4:00 PM
To: Christina Hart <chart@bennett.co.us>, Andy Ausmus <andy@ausmuslaw.com>
Cc: Joe Lico <ninewords@msn.com>

Hi Christina,
Please accept this email as my Order to cancel the bench warrant and re-set Mr. Witt's case for the August court date.
Respectfully,

Shawn

[Quoted text hidden]

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 4:18 PM
To: "Day, Shawn" <Sday@auroragov.org>
Cc: Andy Ausmus <andy@ausmuslaw.com>, Joe Lico <ninewords@msn.com>

Thank you, Judge Day.

ee Christina Hart | Town Clerk

ne
Bennett| | 207 Muegge Way | Bennett CO, 80102
ee (303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov
welcome neighbors.

{Quoted text hidden]
Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 12 of 51
9/27/22, 8:02 AM Town of Bennett Mail - CASE # CE22-0005 BENCH WARRENT

Pe, Gmail Christina Hart <chart@bennett.co.us>

CASE # CE22-0005 BENCH WARRENT

7 messages

Eric Witt <ericwitt34@gmail.com> Tue, Jul 26, 2022 at 9:13 AM
To: “chart@bennett.co.us" <chart@bennett.co.us>

Hello,

My name is Eric Witt. | am requesting the bench warrent for case number CE22-0005 be vacated. | was unaware | had
court to attend. | did speak with an employee from the town of bennett that had left a note on my door to contact. | attempt
contact and then got a response after a few days. | was informed there was a summons being mailed to me. | explained |
was confused about the situation and was told the summons would come in the mail. | kept an eye out for it and never
was never served or received it via mail.

| ama single dad with custody and it would be detramental to my child for me to get arrested. | will go to court anytime |
get a summons. If vacated and a rescheduled court date is issued. | will absolutely show up. So | am requesting to please
vacate this bench warrent.

Thank you,

Eric Witt
170 Coolidge Ct, Bennett, CO 80102

Christina Hart <chart@bennett.co.us> Tue, Jul 26, 2022 at 1:06 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court administrator will contact the Municipal Judge's with your request. You will be
contacted regarding your case once the Judge has responded.

Respectfully,
Christina
er
a Christina Hart | Town Clerk
207 Muegge Way | Bennett CO, 80102
(303)644-3249 ext. 1001 | chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.

[Quoted text hidden}

Eric Witt <ericwitt34@gmail.com> Thu, Jul 28, 2022 at 3:46 PM
To: Christina Hart <chart@bennett.co.us>

Hello,
Has there been any update on my case?

Thanks
[Quoted text hidden]

Eric Witt <ericwitt34@gmail.com> Thu, Jul 28, 2022 at 3:57 PM
To: Christina Hart <chart@bennett.co.us>

Hello,

Can you direct me to where | can see a copy of the summons?

https://mail.google.com/mail/u/0/?ik=2ca47a5a 17 &view=pt&search=all&permthid=thread-f%3A 1 739428644996248283&simpl=msg-f%3A 1739428644 ... 1/3
Case No. 1:23-cv-01550-SBP Document 13-7 filed 07/17/23 USDC Colorado pg 13 of 51
9/27/22, 8:02 AM Town of Bennett Mai! - CASE # CE22-0005 BENCH WARRENT

Thanks
[Quoted text hidden)

Christina Hart <chart@bennett.co.us> Mon, Aug 1, 2022 at 9:11 AM
To: Eric Witt <ericwitt84@gmail.com>

Mr. Witt,

Thank you for your email. Attached is the summons along with the incident reports. You should be receiving a notice for
your new arraignment in the mail. Your arraignment has been reset for August 24, 2022, at 6:00 p.m. at the Bennett Town
Hall.

The bench warrant has been canceled.

Respectfully,
Christina
x, Christina Hart | Town Clerk

Bennett 207 Muegge Way | Bennett CO, 80102
ee (303)644-3249 ext. 1001| chart@bennett.co.us
townofbennett.colorado.gov

welcome neighbors.
[Quoted text hidden]

F Witt, Eric B6731.pdf
2022K

Eric Witt <ericwitt34@gmail.com> Mon, Sep 26, 2022 at 9:52 AM
To: Christina Hart <chart@bennett.co.us>

Hello Ms Hart,

| am requesting all documentation concerning as follows. | request a complete discovery for case# CE22-0005 and/or for
any other case #, other legal matter records and/or documentation held by the Town Of Benneit within the last 5 years.
Legal matter records and/or documents requested regarding issuance or involvement from the Town Of Bennet.
Specifically, records/documents concerning myself Eric Witt and/or my property since the beginning of my acquiring said
property located at 170 Coolidge Court, Bennett, Colorado 80102. In the event this request won't be completely satisfied,
this request shall include receipt of the items aforementioned that may be partially fulfilled by the court. This request is
made so any reasonable man/woman would understand. This request shall not be denied for any defect or want of form
by the courts, but the said court shall respectively, without regard to any imperfections, defects or want of form of such
request. You have my consent to send the aforementioned requests via email to this email

address ericwitt34@gmail.com.

Have a great day.

Thank you,

Eric Witt
[Quoted text hidden]

Christina Hart <chart@bennett.co.us> Mon, Sep 26, 2022 at 2:36 PM
To: Eric Witt <ericwitt34@gmail.com>

Mr. Witt,

Thank you for your email. The court is happy to provide discovery on Case #CE22-0005. The Court will provide the
documents to you within 24 hours.

Respectfully,
Christina

https://mail.google.com/mail/u/0/?ik=2ca47a5a1 7 &view=pt&search=all&permthid=thread-f%3A 1739428644996 248283&simpl=msg-f%3A1 739428644... 2/3
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town of BENNETT MUNICIPAL COURT

Ben nett . ‘ 207 Muegge Way
—— = Bennett, Colorado 80102-7806

. 303-644-3249 Ext. 1001

July 26, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,

The Bennett Municipal Court has cancelled the bench warrant and has reset your arraignment for
August 24, 2022 at 6:00 p.m.

Enclosed you will find the court order with the information for your newly scheduled arraignment.

R pectfully
ji llt
Uf Hart

Bennett Municipal Court Clerk
Town of Bennett

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BENNETT MUNICIPAL COURT, COUNTY OF ADAMS, STATE OF COLORADO

Criminal Action No. B6731

RESET FOR REVIEW

THE TOWN OF BENNETT by and on behalf of
THE PEOPLE OF THE STATE OF COLORADO,

Plaintiff,
vs.

Witt, Eric
Defendant

You are hereby notified the above case has been reset for Arraignment in
the Bennett Municipal Court to Wednesday, the 24th of August, 2022 at

6:00 p.m. in the Municipal Court at 207 Muegge Way, Bennett, Colorado,
80102-7806.

This constitutes the only notice you will receive regarding this date.
FAILURE TO APPEAR AT THE ABOVE DATE, TIME AND LOCATION WILL RESULT IN A
POTENTIAL BENCH WARRANT FOR YOUR ARREST AND ADDITIONAL FEES.

Dated this 26th day of July, 2022
Clerk of the Bennett Municipal Court

Chant “ + af :

Chriftindé' Hart
207 Muegge Way
Bennett, Colorado 80102-7806

CERTIFICATE OF MAILING

I certify that on July 26, 2022 I served a copy of the RESET FOR
ARRAIGNMENT by U.S Mail to:

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Last known address of the party.

Clerk of Bennett Municipal Court

i SBay
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BENNETT MUNICIPAL COURT
Summons # 6 0] 5

The People of the State of ) Waiver of Rights
Colorado and ) and plea of
County of Adams ) (Guilty)
Town of Bennett ) (Not Guilty)

VS )

Witt , E
Defendant )

Comes now the above defendant and is advised of the following rights pursuant to the above cited case:
| have knowledge of the following Rights:

To remain silent.

To have any statement made by me used against me at a later date.

1am presumed innocent.

| have a right to plead not guilty and have a trial to the Court.

| may put the Town to the burden of proving me guilty as to each charge and each element of that charge beyond a reasonable
doubt.

6. [have the right to engage counsel.

7. To request a reasonable continuance.
8

9

We Pwn hb

To have Subpoenas issued by the court without expense, except cost of service, to compel attendance of witnesses.
. [have the right to testify on my own behalf or remain silent, at my own sole discretion.
10. Ihave the right to call witnesses on my own behalf.
11. Ihave the right to appeal according to rule 237 of the Colorado Municipal Court Rules of Procedure.
12. Any plea entered by me must be voluntary and not the result of undue influence or coercion on the part of anyone.

1 further understand the possible maximum penalty is Two Thousand Six Hundred Fifty and no/100s ($2650.00), that if this is a traffic offense,
that penalty points may assessed against my driving privilege, and that if | plead not guilty, my case will be heard at trial within 90 days of
today’s er a full understanding of the rights | have, and possible penalties, | do plead as follows:

a Z 1) REQUEST to speak to Town Prosecutor. If trial is necessary, it is to be scheduled
Initial within 90 days of the date of my plea.

[| NOT GUILTY and request trial.
Initial

[| GUILTY | enter the guilty plea freely and voluntarily, and with full knowledge
Initial of my waiver of the above stated rights and of the possible penalties.

Defendant es J / nate Ak Y ~ 2 2

If the defendant is under! the age of eightben { (18) a parent or guardian must sign this plea.

Parent or Guardian Date

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Bennett Municie21 Court Minute Order
NAME WJ ++ E

CASE #: Blo) 3
DATE: u- ANDY 5

—| _|

PROSECUTOR
Pre-Trial Conference Held with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:

Points Fine

Count 1: _# Copal (Z> | |
Amend to: _ “) ) oo 1

Count 2:
Amend to:

Er: PE fo Chen ‘ Fine

Additional Recommendations:

Stipulations:
JUDGE
eC ACCEPT Prosecutor's recommendation and Defendant Plea
oO _ REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
Oo ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75) |
Points Fine
Additional Order: CC} $35.00
Count 1: SOE | $25.00
OJSW | $30.00

Additional BW | $75.00

Points Fine CS} $25.00

Count 2: Deferred | $75.00
FTA | $25.00

$25.
ee (ont. CAE. to S 2ot DRTH FTP | $25.00

ww fe a Peavey Cet

bp <forret

| | Default | $30.00

gf ceptible f.
COVYYyW QAVLTE e ase A Total Due $
v 3
COURT CLERK = (
TTYL
| DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

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Bennett Municipal Court
BENNETT MUNICIPAL COURT 207 Muegge Way

Benneti, CO 80102
PAYMENT AGREEMENT & SENTENCE CONDITIONS 303-644-3249 x1001

DEFENDANT NAME : Wi +t FE - CASE ¥] st I 5 |

Description Amount Due Note ¢ Hx 4.4 O KA
Fine Amount $
Court Cost $35 30 DaY fant.
Stay of Execution $25 VP) AY Om~piGat@ts,
Deferred Judgment Fee $50 Months Review On: “f |a/4/ SOKA
Community Service $25 Hours Completed By:
Default Judgment Fee $30
Bench Warrant $75
Other
Pay Today: and/or
TOTAL DUE $ Payment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS
Class DAlcohol /Drug
O Theft Day/Hours Completed By.
xX Month
Drug Testing/UA For .
months Completed By:
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court

207 Muegge Way

Bennett, CO 80102
or can be made online with a credit card at www.TownofBennett.org. Please note there is a
transaction fee for all credit card payments.

COURT CLERK
DATE FINES ccs SOE FEES FEES TTLDUE |PAYMENT|BALANCE |INITIALS/NOTES

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BENNETT MUNICIPAL COURT
207 Muegge Way

Bennett, Colorado 80102-7806
303-644-3249 Ext. 1001

August 25, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,

You appeared before the Bennett Court on August 24, 2022 for violating BMC 13-3-80 Unlawful Use or
Acquisition of Water.

The hearing has been continued until September 28, 2022 at 6:00 p.m. with a review of compliance.
If you have any questions, please do not hesitate to contact me.
Res Mok

Jy i fier
en tina
Bennett aries Court Clerk
Town of Bennett

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Pin eae
COLORADO ATTORNEY GENERAL OFFICE
TOWN OF BENNETT
Joe Lico
“Plaintiff”,
Vv Case Number CE22-0005
CE22-0019
ERIC WITT
“Defendant(s)”
/
Philip J. Weiser NOTICE, not a motion
Attorney for alleged “Plaintiff” Addressed to: Philip J. Weiser,

Attorney General
Department of Law
Phone: 720-508-6000
Fax: 720-508-6030
1300 Broadway

10th Floor

Denver, CO 80203

JURISDICTIONAL CHALLENGE
WITH AFFIDAVIT

Eric Witt by limited appearance to this matter in this court of record with clean hands,
without prejudice and with all rights reserved including UCC 1-308 in dealing with this court, in

pro per, sui juris (NOT PRO SE), have not seen any evidence that proves how this court got its

jurisdiction.

Eric Witt has the right to challenge the jurisdiction of any court that attempts to force
compliance with its deceptive practices, procedures, rules, and word-smithing at any time, and
this right has been upheld by numerous decisions by the Supreme Court of the United States.
Once jurisdiction has been challenged, it is the mandatory obligation of the opposing party to

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prove the basis of the court having jurisdiction to proceed in the matter before it, and until that
has been put on the Record of the court, the court can proceed no further.

Further, the Supreme Court of the United States has ruled that jurisdiction can be
challenged at any time even as much as 15 (fifteen) years after a judgment has been entered.

Decisions of the Supreme Court of the United States are mandatory requirement to be complied

with by all courts, state and federal and leave those courts no discretion as to whether or not to

comply. The following Supreme Court cases set out the mandatory requirements that must be
complied with.

"Once jurisdiction is challenged, the court cannot proceed when it clearly appears that the
court lacks jurisdiction, the court has no authority to reach merits, but, rather, should dismiss the
action." Melo v. US, 505 F2d 1026.

"Where there is no jurisdiction over the subject matter, there is no discretion to ignore
that lack of jurisdiction." Joyce v. US, 474 F2d 215.

"Generally, a plaintiff's allegations of jurisdiction are sufficient, but when they are
questioned, as in this case, the burden is on the plaintiff to prove jurisdiction." Rosemond v.
Lambert, 469 F2d 416.

"Judgment rendered by court which did not have jurisdiction to hear cause is void ab
initio." In Re Application of Wyatt, 300 P. 132; Re Cavitt, 118 P2d 846. "It is elementary that
the first question which must be determined by the trial court in every case is that of

jurisdiction.” Clary v. Hoagland, 6 Cal.685; Dillon v. Dillon, 45 Cal. App. 191,187P. 27.

The response from the Party/Petitioner/Plaintiff asserting proper jurisdiction throughout this
case must be made on a point by point basis for all the moving Party/Petitioner/Plaintiff
actions, filings and motions are true and correct in relation to the proper State laws, codes, rules,
regulations, statutes used to conduct this case that proper jurisdiction was always maintained
from the record including the incomplete summons.

“A departure by a court from those recognized and established requirements of law,
however close the apparent adherence to mere form in method of procedure, which has the effect
of depriving one of a constitutional right, is as much an “excess of jurisdiction" as where there

exists an inceptive lack of power.” Wuest v. Wuest, 53 Cal. App. 2d 339.127P.2d 934.

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“A court has no jurisdiction to determine its own jurisdiction for a basic issue in any case
before a tribunal is its power to act, and a court must have the authority to decide that question in
the first instance.” Rescue Army v. Municipal Court of Los Angeles, 17) P2d; 331 US 549, 91
L. ed. 1666, 67 S. Ct. 1409.

"Where there is no jurisdiction there is no judge; the proceeding is as nothing. Such has
been the law from the days of the Marshalsea.” 10 Coke 68; also Bradley v. Fisher, 13 Wall
335,351." Manning v. Ketcham, 58 F.2d 948.

"A distinction must be here observed between excess of jurisdiction and the clear

absence of all jurisdiction over the subject-matter any authority exercised is a usurped authority

and for the exercise of such authority, when the want of jurisdiction is known to the judge, no
excuse is permissible." Bradley v, Fisher,13 Wall 335, 351, 352.

“Plaintiffs bear the burden of establishing subject matter jurisdiction.” KNAPP
MEDICAL CENTER, et al. v. Eric D. HARGAN, 875 F.3d 1125, (2017).

“Jurisdiction, once challenged, is to be proven, not by the court, but by the party
attempting to assert jurisdiction. The burden of proof of jurisdiction lies with the asserter. The
court is only to rule on the sufficiency of the proof tendered.” McNutt v. GMAC, 298 US 178.
Emphasis added. The origins of this doctrine of law may be found in Maxfield's Lessee V Levy.

4US 308.

In a very recent decision, the Supreme Court unequivocally stated in James v.
City of Boise Idaho, 136 S. Ct. 685 (2016):

"It is this Court's responsibility to say what a [federal] statute means, and once the Court
has spoken, it is the duty of other courts to respect that understanding of the governing rule of
law.” Nitro—Lift Technologies, L.L.C. v. Howard, 568 U.S. ——, ——, 133 S.Ct. 500, 503, 184
L.Ed.2d 328 (2012) (per curiam ) (quoting Rivers v. Roadway Express, Inc.,511 U.S. 298, 312,
114 S.Ct. 1510, 128 L.Ed.2d 274 (1994) (internal quotation marks omitted)). And for good
reason. As Justice Story explained 200 years ago, if state courts were permitted to disregard this
Court's rulings on federal law, “the laws, the treaties, and the constitution of the United States
would be different in different states, and might, perhaps, never have precisely the same
construction, obligation, or efficacy, in any two states. The public mischiefs that would attend
such a state of things would be truly deplorable.” Martin v. Hunter's Lessee, 1 Wheat. 304, 348,
4 L.Ed. 97 (1816)."

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The court also said:

"The Idaho Supreme Court, like any other state or federal court, is bound by this
Court's interpretation of federal law" [emphasis added]

Eric Witt at this time makes that challenge and demands that the BENNETT
MUNICIPAL COURT OF ADAMS COUNTY, COLORADO order the so-called Plaintiff in
this case provide direct evidence and proof on the Record that the BENNETT MUNICIPAL
COURT OF ADAMS COUNTY, COLORADO is a judicial power court which was created by
the Constitution for the State of COLORADO and operates in compliance with all of the
provisions of the Constitution for the United States of America.

The Court would lack jurisdiction being that there is evidence to support the improperly
contrived subject matter by proper legislative process; and the Eleventh Amendment of the
United States Constitution removed all “judicial power” in law, equity, treaties, contract law and
the right of the State to bring suit against the People, therefore the “ alleged Defendant” now
challenge jurisdiction for the record.

Standing must also be proven to show jurisdiction. In order to file a case in court, litigants must

have "standing" to sue. To have standing, Supreme Court doctrine requires that parties have an
"injury in fact." This injury must be specific and concrete - rather the speculative and abstract.
Standing requires the violation of a legal right that causes damage. “A plaintiff must allege
personal injury fairly traceable to the defendant's allegedly unlawful conduct and likely to be
redressed by the requested relief.” Allen v. Wright, 468 U.S. 737, 751 (1984)

All orders or judgments issued by a judge in a court of limited jurisdiction must contain

the findings of the court showing that the court has subject-matter jurisdiction, not allegations

that the court has jurisdiction.

Any explanations to the above-mentioned matters MUST be done on a point by point
basis with verified facts that are referenced in law, Legislative acts, Federal and/or State
constitutions. The response from the Party/Petitioner/Plaintiff asserting proper jurisdiction
must be sworn to under the penalties of perjury of the United States of America that response is
true and correct, certified by notarization, and must be able to be understood by any reasonable

man/woman should understand.

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Pleadings of this Party SHALL NOT BE dismissed for lack of form or failure of process.
All the pleadings are as any reasonable man/woman would understand, and in support of that
claim I submit the following:

“And be it further enacted. That no summons, writ, declaration, return, process,
judgment, or other proceedings in civil cases in any of the courts or the United States, shall be
abated, arrested, quashed or reversed, for any defect or want of form, but the said courts
respectively shall proceed and give judgment according as the right of the cause and matter in
law shall appear unto them, without regarding any imperfections, defects or want of form in such
writ, declaration, or other pleading, returns, process, judgment, or course of proceeding
whatsoever, except those only in cases of demurrer, which the party demurring shall specially sit
down and express together with his demurrer as the cause thereof. And the said courts
respectively shall and may, by virtue of this act, from time to time, amend all and every such
imperfections, defects and wants of form, other than those only which the party demurring shall
express as aforesaid, and may at any time, permit either of the parties to amend any defect in the
process of pleadings upon such conditions as the said courts respectively shall in their
discretion, and by their rules prescribe. (a)” Judiciary Act of September 24". 1789. Section 342,
FIRST CONGRESS, Sess. 1, ch. 20,1789.

AFFIDAVIT

State of COLORADO __ )
) ss) TOALL TO WHOM THESE PRESENTS SHALL COME

county of ADAMS _)

I, the Affiant, who goes by the appellation, Eric Witt, a man, a man standing as an Inhabitant on
Adams the county, COLORADO the land, non-territorial to the United States and therefore
without the United States, being of sound mind, and over the age of twenty-one, reserving all
rights, being unschooled in law, and who has no BAR attorney, is without an attorney, and
having never been re-presented by an attorney, and not waiving assistance of counsel, knowingly
and willingly Declares and Duly affirms, in accordance with laws in and for the State of
COLORADO, in good faith, with no intention of delaying, nor obstructing, and with full intent
for preserving and promoting the public confidence in the integrity and impartiality of the
government and the judiciary, that the following statements and facts, are true and correct of
Affiant’s own first-hand knowledge, understanding, and belief, do solemnly declare, and depose
and say:

1. That I, Eric Witt, declare that I am competent to state to the matters set forth herein; and
2. That I, Eric Witt, declare that I have personal knowledge of the facts stated herein; and
3. That I Eric Witt, declare the plaintiff has no injured party; and

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4. That I Eric Witt, declare damages because of the Town of Bennett’s public servants are
collectively violating and harassing Eric Witt see: CRS 18-9-111 is the Colorado statute that
defines criminal harassment as intentionally bothering, annoying, or alarming someone by way of

repeated contact, obscene gestures, hitting, taunting, or following in public; and

5. That I Eric Witt, declare damages because The Town of Bennett water utility department
received my payment in full and the towns employees intentionally deprived me of an essential

resource for 6 days before restoring water to my property; and

a) The Colorado statute clearly outlines services must be turned on within 24 hours according to

the code of Colorado regulations, rule 5409(b)(1) which states:

“(b) Unless prevented by safety concerns or exigent circumstances, a utility shall restore service
within 24 hours (excluding weekends and holidays), or within 12 hours if the customer pays any

necessary after-hours charges established in tariffs, if the customer does any of the following:
(D Pays in full the amount for regulated charges shown on the notice and any deposit and/or

fees as may be specifically required by the utility's tariff in the event of discontinuance of

Service,

(II) Pays any reconnection and collection charges specifically required by the utility's tariff,
enters into an installment payment plan, and makes the first installment payment, unless

the cause for discontinuance was the customer's breach of such an arrangement.

(II) Presents a medical certification, as provided in rule 5407(e) (IV).

(IV) Demonstrates to the utility that the cause for discontinuance, if other than non-payment, has

been cured.”

b) I called the Town of Bennett water utility on the phone several times after the bill was paid in

full throughout 6 days to get service restored.

c) The water utility bill was paid in full Thursday 7/21/22 $755.22 and service was not restored
until Wednesday 7/27/22 the following week. This is a clear violation of code of Colorado

regulations, rule 5409(b)(I), shows abuse of power and the harassing nature of the public

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servants employed by the Town of Bennett. These individuals shall be stripped of immunity per

the “Tucker Act” .

6. That I Eric Witt, declare damages because of a breach of contract by The Town of Bennett,

due to the violation of the code of Colorado regulations, rule 5409(b) 1) ; and

7. That I Eric Witt, declare damages because a bench warrant was issued for my arrest by judge
Ausmus 6/27/2022 causing extreme emotional distress for a summons that was not properly

served according to the Colorado rules of civil procedure, see: C.R.C.P. Rule 4(f); and

8. That I Eric Witt, declare damages because the day after receiving mail that there was a warrant
for my arrest. I received a entrapping/taunting notice tapped to my door stating I would receive a
summons if I didn’t trim weeds out in front of my property. , The thought of doing such brought
high anxiety, stress and fear of being unlawfully arrested . If I did get arrested would in turn

cause me to be unable to fulfill my obligations as a single father.; and

9. That I Eric Witt, declare the plaintiff failed to provide the court adequate assurance of due

performance; and

10. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, is not an administrative power only court forcing compliance with its Orders
by use of armed mercenary police actions, and I believe that no contrary evidence exists; and

11. That I, Eric Witt, declare that all the facts stated herein are true, correct, and certain,
admissible as evidence, and if called upon as a witness I will testify to their veracity; and

12. That I, Eric Witt, declare that I am not now, nor have I been in the past 10 years, federal
employee, or federal personnel; and

13. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, is not a lower federal district court limited in jurisdiction to only those areas

which are federal enclaves, and I believe that no contrary evidence exists; and

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14. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO or any/all
aliases of this name, is not without in personam jurisdiction over Eric Witt, one of the People of
COLORADO, and I believe that no contrary evidence exists; and

15. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, does not have the ability to obtain jurisdiction over one of the People of
COLORADO, the property of one of the People of COLORADO, and I believe that no contrary
evidence exists; and

16. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO , or any/all
aliases of this name, is not limited in authority to only administrative power over the artificial
entity/legal person, ERIC WITT, and I believe that no contrary evidence exists; and

17. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO , or any/all
aliases of this name, is not an administrative power only court, which is masquerading as a
judicial power court, which was created by the LEGISLATURE OF STATE OF COLORADO,
and I believe that no contrary evidence exists; and

18. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
judicial power courts, the BENNETT MUNICIPAL COURT, ADAMS COUNTY, COLORADO
is not created only by the Constitution for the State of COLORADO, and I believe that no
contrary evidence exists; and

19. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the LEGISLATURE OF STATE OF COLORADO is not powerless to create judicial power
courts, and I believe that no contrary evidence exists; and

20. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT, ADAMS COUNTY, COLORADO, or any/all aliases
of this name, is not an administrative power only court created for commercial purposes by the
LEGISLATURE OF STATE OF COLORADO, acting as an instrumentality of the United States,

and I believe that no contrary evidence exists; and

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22. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases, is not by the actions of said court directly violating the rights held by the People under
the Constitution for the State of COLORADO, through said court’s use of deceptive practices,
procedures, rules, and word-smithing, and I believe that no contrary evidence exists; and

23. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
there is any person holding themselves out as a judge for the BENNETT MUNICIPAL
COURTOF ADAMS COUNTY, COLORADO, who has not taken the proper oath for a state
judicial officer, which is required to be taken by Act of Congress, as set out at 1 Stat. 23, which
reads:

“SEC. 1. Be it enacted by the Senate and |House of| Representatives of the United States of
America in Congress assembled, That the oath or affirmation required by the sixth article of the
Constitution of the United States, shall be administered in the form following, to wit: "I, A. B.
do solemnly swear or affirm (as the case may be) that I will support the Constitution of the
United States.”

SEC. 3. And be it further enacted, That the members of the several State legislatures, at the
next sessions of the said legislatures, respectively, and all executive and judicial officers of
the several States, who have been heretofore chosen or appointed, or who shall be chosen or
appointed before the first day of August next, and who shall then be in office shall within one
month thereafter, take the same oath or affirmation, except where they shall have taken it before;
which may be administered by any person authorized by the law of the State, in which such
office shall be Holden, to administer oaths.” [Emphasis added]

and I believe that no contrary evidence exists; and

24. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
the BENNETT MUNICIPAL COURT OF ADAMS COUNTY, COLORADO, or any/all
aliases of this name, is not committing unlawful acts by claiming authority beyond its
jurisdiction when it orders to pay fines of the People of COLORADO state, and I believe that no
contrary evidence exists; and

25. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that

when the COLORADO ATTORNEY GENERAL’S OFFICE /BENNETT MUNICIPAL

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COURT OF ADAMS COUNTY, COLORADO, or any/all aliases of this name, refuses to
rebut this Affidavit, point by point on the Court Record, that said Court is not committing
intentional and malicious violations of civil rights against the Eric Witt, one of the People of
COLORADO, and I believe that no contrary evidence exists; and

26. That I, Eric Witt, declare that I am not in receipt of any evidence or other material facts that
there does not exist a clear absence of all jurisdiction in the BENNETT MUNICIPAL COURT
OF ADAMS COUNTY, COLORADO, and I believe that no contrary evidence exists.

27. That I Eric Witt declare the Official municipal code Section (13)(3)(80) of the Town of
Bennett used as a claim against me are unnamed and missing the 3 elements necessary to be
considered a valid law.

28. That I Eric Witt declare the codes/statutes show no signs of authority on their face as
recorded in the Official Code or Statute of BENNETT MUNICIPAL CODE

29. That I Eric Witt declare the Constitution and the Supreme Court of Colorado asserted that a
statute/codes must have an enacting clause.

30. That I Eric Witt declare the Constitution stated that "The enacting clause is that portion of a
code or statute which gives it jurisdictional identity and constitutional authenticity." Joiner v.
State.

31. That I Eric Witt declare without an enacting clause, the laws referenced in the complaints
have no official evidence that they are from an authority to which the I am subject to or required

obey.

FURTHER AFFIANT SAITH NOT.

I declare under the penalty of bearing false witness before God and Men as recognized
under the laws in and for The State of COLORADO, the Laws of the United States of America
and the Law of Nations, acting with sincere intent and full standing in law, do herewith certify
and state that the foregoing contents are true, correct, complete, certain, admissible as evidence,
and not intended to mislead anyone, and that Eric Witt executes this document in accordance
with Eric Witt’s best knowledge and understanding without dishonor, without recourse; with All
rights reserved, without prejudice.

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WHEREFORE, Eric Witt, having duly challenged the jurisdiction and claim of judicial
power of BENNETT MUNICIPAL COURTOF ADAMS COUNTY, COLORADO, does
now demand and direct said Court to order the Plaintiff in said cause to prove on the Record of
this instant case that the Declarations of Eric Witt are invalid and to prove that this Court was
created by the Constitution for the State of COLORADO, holding judicial power. And that the
judges who have presided over this case prove by certified archival documents that they had on
file the required oath set forth by Act of Congress as 1 Stat. 23 before they issued the orders,
which said judges claim to have judicial power to issue and to have enforced by any law
enforcement agency. Eric Witt serves Administrative/Judicial Notice on this Court, that unless
and until the above Affidavit is rebutted in its entirety, point by point, it stands as the Law of this
instant case. Pursuant to Melo v. US, this Court must, once jurisdiction has been challenged, as
it now has been, halt all further proceedings and stay all Orders/Writs that this Court has
issued. Further, this Court shall issue an Order to the Plaintiff to prove jurisdiction on the
Record of this case and rebut the above Affidavit, point by point, within 10 days of the filing of
this Challenge of Jurisdiction. Should this Court refuse to issue such order to the Plaintiff, this
Court admits on the Record of this case that all orders which have been issued by any alleged
judge of this Court in this instant case are VOID, not merely voidable. And, should this Court
refuse to issue an order declaring all Orders in this case VOID, that such refusal or silence is a
Tacit admission that the Court is intentionally and maliciously violating the unalienable civil
rights of, Eric Witt, one of the People of COLORADO; and further, this Court, as a result of its
Tacit admission agrees, that a Civil Rights complaint, against all perpetrators of the violations,

would be an appropriate action.

By: Eric Witt

VERIFICATION

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As done this 28 day of September in the year 2022, under penalty of perjury under the laws of

the United States of America.
ts Go lA

By: Eric Witt
Duly sworn this 28day of September, 9/28/2022
STATE OF COLORADO )

) JURAT
COUNTY OF ADAMS +)

Before me the undersigned, a Notary acting within and for the County of Ady S_and State
of on this?Hay of Spee , 9/28/2022, personally appeared and known to me - OR -
proved to me on the basis of satisfactory evidence to be the person whose names is subscribed to
the within instrument, to be the identical Man , Eric Witt, who being duly sworn, declared the
above to be true, correct, and not meant to mis-lead, to the best of his firsthand knowledge,
understanding, and belief, by his free will and voluntary act and deed by his signature on the
foregoing document, executed the within instrument.

Given under my hand and seal this At day of , 9/28/2022.

Notary Signature Seal

Printed Notary Name

My commission expires _

CONCLUSION with DIRECTIVE

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I, Eric Witt, a COLORADO State Citizen and one of the People of COLORADO, makes
this Verification based on personal knowledge of matters set forth herein and appearing without
waiving any rights or remedies, being competent in mind and body to testify, do hereby declare,
verify and affirm that the facts stated herein are true, correct, and complete in all material fact,
not misrepresented based on my own knowledge to the best of my current information,
knowledge and belief under the penalty of perjury of the laws of the United States of America
and the laws of COLORADO, and is admissible as evidence in a court of law or equity, except as
to those matters that are therein made upon information and belief, and as to those claims or
facts, I believe them to be true and admissible as evidence, and if called wpon as a witness, I will
testify as to the veracity of my statements.

Entered this 28 day of ,9/28/2022. & :
LS.

Eric Witt

Notary Signature Seal

Printed Notary Name

My commission expires

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Bennett Municip‘ Court Minute Order

ame With, E

case # Pol pg 1 D1

PROSECUTOR

DATE: 4- AS Qvn37A

Pre-Trial Conference Held with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:

Points Fine
Count 1:
Amend to:
Count 2: |
Amend to: |
Additional Recommendations:
Stipulations:
JUDGE
Oo ACCEPT Prosecutor's recommendation and Defendant Plea
—
O REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
Oo ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: | | CC | $35.00
Count 1: ia) , - \\pwp LIRWIED SOE | $25.00
| OJW | $30.00
Additional A K 1O.RM | io) \ ON BW | $75.00
\ Ae Points Fine CS | $25.00
ye Default | $30.00
: \ |
Count 2: A\h Wy] Deferred | $75.00
- . FTA | $25.00
Po-ay AER STR. aw \\) \ ie FTP | $25.00
Additional Conditions: —_—_— eo
x
NO Di Ty Y¥ C
Ee pe DS a
LA
Total Due s
COURT CLERK
TTL
DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

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BENNETT MUNICIPAL COURT

PAYMENT AGREEMENT & SENTENCE CONDITIONS

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

case #(olo 2 3/

DEFENDANT NAME : \W it+ ,

GAS “ADKA

Description Amount Due Note
Fine Amount $ GMA Osrci Hf INQ) jf”
Court Cost $35 Jl ADA BY
Stay of Execution $25
Deferred Judgment Fee $50 Months Review On:
Community Service $25 Hours Completed By:
Default Judgment Fee $30 San Woke
Bench Warrant $75 Ott 1G - DoSPRAS ~ Cll) tar Ary
Other wy
Pay Today: and/or
TOTAL DUE ¢ Payment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS
Class DAlcohol /Drug .
C Theft Day/Hours Completed By:
x Month
Drug Testing/UA For .
months Completed By:
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant

Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court

207 Muegge Way
Bennett, CO 80102

or can be made online with a credit card at www.TownofBennett.org. Please note there is a

transaction fee for all credit card payments.

COURT CLERK

DATE FINES ccs SOE FEES FEES

TFTLDUE |PAYMENT|/BALANCE |INITIALS/NOTES

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BENNETT MUNICIPAL COURT

207 Muegge Way
= Bennett, Colorado 80102-7806
303-644-3249 Ext. 1001

October 3, 2022

Eric Witt
170 Coolidge Court
Bennett, Colorado 80102

Mr. Witt,

You appeared before the Bennett Municipal Court on September 28, 2022. Judge Day has reset your
arraignment for case number B6731 MTC 13-3-80 Unlawful Use or Acquisition (Water) on November
16, 2022 at 6:00 p.m.

During your September 28" appearance no plea was entered.
If you have any questions, please do not hesitate to contact me.

Respectfully,

Ch dt Tal
Christina Hart
Bennett Municipal Court Clerk

Town of Bennett

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BENNETT MUNICIPAL COURT
Summons # fh! 012

The People of the State of ) Waiver of Rights
Colorado and ) and plea of
County of Adams ) (Guilty)
Town of Bennett ) (Not Guilty)

VS )

Defendant )

Comes now the above defendant and is advised of the following rights pursuant to the above cited case:

| have knowledge of the following Rights:

To remain silent.

To have any statement made by me used against me at a later date.

lam presumed innocent.

Ihave a right to plead not guilty and have a trial to the Court.

I may put the Town to the burden of proving me guilty as to each charge and each element of that charge beyond a reasonable
doubt.

6 | have the right to engage counsel.

7. To request a reasonable continuance.
8

9

vey Np

To have Subpoenas issued by the court without expense, except cost of service, to compel attendance of witnesses.
Ihave the right to testify on my own behalf or remain silent, at my own sole discretion.

10. Ihave the right to call witnesses on my own behalf.
11. Ihave the right to appeal according to rule 237 of the Colorado Municipal Court Rules of Procedure.
12. Any plea entered by me must be voluntary and not the result of undue influence or coercion on the part of anyone.

I further understand the possible maximum penalty is Two Thousand Six Hundred Fifty and no/100s ($2650.00), that if this is a traffic offense,
_ that penalty points may assessed against my driving privilege, and that if | plead not guilty, my case will be heard at trial within 90 days of
today’s date. With a full understanding of the rights I have, and possible penalties, | do plead as follows:

REQUEST to speak to Town Prosecutor. If trial is necessary, it is to be scheduled

Oo
Initial within 90 days of the date of my plea.
oO NOT GUILTY and request trial.
initial
Oo GUILTY | enter the guilty plea freely and voluntarily, and with full knowledge

Initial of my waiver of the above stated rights and of the possible penalties.

Defendant Date
If the defendant is under the age of eighteen (18) a parent or guardian must sign this plea.

Parent or Guardian Date

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Bennett Municipal court Minute Order

NAME: Witt E

case #:_ Polp7.3 |

PROSECUTOR

DATE: | )- Jip- VD |

Pre-Trial Conference Held with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:

Points Fine
Count 1:
Amend to:
Count 2:
Amend to: |
Additional Recommendations:
Stipulations: -
JUDGE
O ACCEPT Prosecutor's recommendation and Defendant Plea
Oo REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
Oo ACCEPT Defendant Plea {No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: : cc | $35.00
Count 1: ( OnTr- WE {2 TO SOE | $25.00
. OJW | $30.00
Additional 19] H GPM Bw | $75.00
= . Points Fine CS | $25.00
Notas 7O_AL | Default | $30.00
Count 2: a | Deferred | $75.00
FTA | $25.00
FTP | $25.00
Additional Conditions:
Total Due s
COURT CLERK
TTL
DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

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BENNETT MUNICIPAL COURT

PAYMENT AGREEMENT & SENTENCE CONDITIONS

DEFENDANT NAME : WW Ite E

Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102
303-644-3249 x1001

CASE Dl BI

-Description Amount Due Note l | ‘ / b - DAA
Fine Amount $ \
Court Cost $35 li fov Y LZ] |
Stay of Execution $25 List EN
Deferred Judgment Fee $50 Months Review On:
Community Service $25 Hours Completed By:
Default Judgment Fee $30
Bench Warrant $75
Other
Pay Today: and/or
TOTAL DUE $ Payment Arrangement: $ due by the

day of each month beginning

in full.

until paid

ADDITIONAL CONDITIONS

Class DAlcohol /Drug

Completed By:

CO Theft Day/Hours =
x Month
Drug Testing/UA For Completed By:
months

No Further Violations

Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant

Parent of Minor

All Payments should be mailed to: Town of Bennett Municipal Court
207 Muegge Way
Bennett, CO 80102

or can be made online with a credit card at www.TownofBennett.org. Please note there is a

transaction fee for all credit card payments.

COURT CLERK

DATE FINES ccs SOE FEES

FEES TTL DUE

PAYMENT|BALANCE

INITIALS/NOTES

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BENNETT MUNICIPAL COURT, COUNTY OF ADAMS, STATE OF COLORADO

Criminal Action No. B6731

RESET FOR REVIEW

THE TOWN OF BENNETT by and on behalf of
THE PEOPLE OF THE STATE OF COLORADO,

Plaintiff,
vs.

Witt, Eric
Defendant

You are hereby notified the above case has been reset for Arraignment in
the Bennett Municipal Court to Wednesday, the 21st of December, 2022 at
6:00 p.m. in the Municipal Court at 207 Muegge Way, Bennett, Colorado,
80102-7806.

This constitutes the only notice you will receive regarding this date.
FAILURE TO APPEAR AT THE ABOVE DATE, TIME AND LOCATION WILL RESULT IN A
POTENTIAL BENCH WARRANT FOR YOUR ARREST AND ADDITIONAL FEES.

Dated this 21st day of November, 2022
Clerk of the Bennett Municipal Court

207 Muegge Way
Bennett, Colorado 80102-7806

CERTIFICATE OF MAILING

I certify that on November 21, 2022 I served a copy of the RESET FOR
ARRAIGNMENT by U.S Mail to:

Eric Witt

170 Coolidge Court
Bennett, Colorado 80102

Last known address of the party.

Clerk of Bennett Municipal Court

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THE UNITED STATES DISTRICT
DISTRICT OF COLORADO
COUNTY-OF ADAMS
TOWN OF BENNETT MUNICIPAL COURT

Joe Lico (prosecuting attorney) also referred to as plaintiff
Shawn Day (Judge) Party added to the case via counterclaim also referred to as judge

“Plaintiffs”,
Vv Case Number CE22-0005
CE22-0019
ERIC WITT
“Defendant(s)”

COUNTERCLAIM FOR 1.5 MILLION DOLLARS AGAINST (Judge) Shawn Day FOR
DISMISSING PLAINTIFF'S JURISDICTIONAL CHALLENGE WITH AFFIDAVIT,

FOR PRACTICING LAW FROM THE BENCH, FOR PROCEEDING IN THE CASE
WITHOUT SUBJECT MATTER JURISDICTION IN A NON-COURT OF RECORD,
FOR PROCEEDING IN THE CASE WITHOUT PROPER SERVICE IN VIOLATION
OF DEFENDANT'S "DUE PROCESS', ALSO AGAINST Joe Lico PURSUANT TO
RULE 11 FOR NOT VERIFYING AN INJURED PARTY AND IMPROPER SERVICE
ALSO IN VIOLATION OF DEFENDANT'S "DUE PROCESS' AND FRIVOLOUS
FILING WITHOUT STANDING,

Comes Now defendant Eric Witt before this court by special appearance. Eric Witt objects not
being properly served according to CRCP. Eric Witt objects to the court issuing a warrant for an
improperly served summons.. Eric Witt objects to the Judge practicing law from the bench by
acting as legal counsel for the plaintiff when the judge answered to the defendant's jurisdictional
challenge for the plaintiff. The defendant Eric Witt also objects to the judges answer to the
questioned jurisdiction when he failed to answer to all 30 questions in the jurisdictional challenge.
The defendant also objects to judge’s dismissal of the jurisdiction challenge and the injuries in fact
stated for being “without merit”. The defendant also objects to the judge moving forward in the
case without jurisdiction after the defendant the challenged jurisdiction be proven on the record
with an affidavit. The defendant also objects to all actions post jurisdictional challenge, including

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but not limited to, the ordered continuance to seek legal counsel. All of the judges actions after the
challenge are void from lack of jurisdiction. B.A.R. members are expected to perform a reasonable
“Pre-filing investigation.” Rule 11 states in part that attorneys must not file suit without evidentiary
support for the allegations contained in the complaint. The law the plaintiff is using to prosecute
the defendant is not valid law. The Colorado constitution states a valid law must contain the
enacting claws, a title and a body. The burden of proof for a jurisdictional challenge, once
questioned lies on the plaintiff. Be it as the judge inadequately and improperly answered to the
jurisdictional challenge as counsel for the plaintiff. It exposed an impartiality of the judge's biased
demeanor for the prosecution. In addition, Be it the fact the burden of proof for a jurisdictional
challenge is to be addressed by the plaintiff on a point-by-point basis. The judge had no jurisdiction
to respond for the plaintiff and continued forward without jurisdiction. The following is only a few
of many case law was provided in by the defendant for the court in the jurisdictional challenge
with an affidavit.

"Where there is no jurisdiction over the subject matter, there is no discretion to ignore that lack
of jurisdiction." Joyce v. US, 474 F2d 215.

"Generally, a plaintiff's allegations of jurisdiction are sufficient, but wheri they are questioned, as
in this case, the burden is on the plaintiff to prove jurisdiction." Rosemond v. Lambert, 469 F2d
416.

"Judgment rendered by court which did not have jurisdiction to hear cause is void ab initio." In
Re Application of Wyatt, 300 P. 132; Re Cavitt, 118 P2d 846. "It is elementary that the first
question which must be determined by the trial court in every case is that of jurisdiction.” Clary
v. Hoagland, 6 Cal.685; Dillon v. Dillon, 45 Cal. App. 191,187P. 27.

In addition, forcing the defendant out of common law jurisdiction deceptively giving the defendant
4 options. None of which were addressing the questions to the jurisdiction to be established on the
record. In addition to acting outside his judicial capacity after the jurisdiction was challenged with
30 questions to the courts subject matter jurisdiction and the defendant asked for the challenge to
be proven on the record with an affidavit. Then disregarding the defendant's jurisdictional
challenge and the judge continued to move forward with the case. . He derprivitly, deceptively,
knowingly and without any notice to the plaintiff or the defendant. Continued in the case by
attempt to establish statutory law in a "Nisi Prius" non-court of record. This behavior from the
judge felt to the defendant as and reflected to coercion, deceptive and unethical and deprived the
defendants civil rights. Government officials do not have immunity when they operate outside of
their Jurisdiction. The government has no complaints from any injured citizens and therefore had
no jurisdiction to issue their summons for Eric Witt. A majority of decisions have held that if an
inferior judge acts maliciously or corruptly he may incur liability. Kalb v. Luce, 291 N.W. 841,
234, WISC 509. A judge's failure to follow simple guidelines of their post and or the rule of law
makes a judge's action no longer a judicial act but an Individual act as the act represents their
prejudices and goals. Case Law also states that when a judge acts as a trespasser of the law when
a judge does not follow the law, he then loses subject matter jurisdiction and the Judges orders are

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void, of no legal force ore’ t. Ina limited government, a governm _.imited by the constitution,
the violation of a citizen's rights should never be justified due to the overriding government goals
or objectives, and no branch of the government should be allowed to extend its power beyond its
legal limits. Case Law has proven that judicial immunity is not absolute.

28 USC Ch. 21: GENERAL PROVISIONS APPLICABLE TO COURTS AND JUDGES

§454. Practice of law by justices and judges

Any justice or judge appointed under the authority of the United States who engages in the
practice of law is guilty of a high misdemeanor.

Service of Process

Colorado rules of civil procedures states the following for issuance of summons: (e) Personal
Service. Personal service shall be as follows:(1) Upon a natural person whose age is eighteen
years or older by delivering a copy thereof to the person, or by leaving a copy thereof at the
person's usual place of abode, with any person whose age is eighteen years or older and who is a
member of the person's family, or at the person's usual workplace, with the person's supervisor,
secretary, administrative assistant, bookkeeper, human resources representative or managing
agent; or by delivering a copy to a person authorized by appointment or by law to receive service
of process.

Rule 4 - Process, Colo. R. Civ. P. 4

(f) Substituted Service. In the event that a party attempting service of process by personal service
under section (e) is unable to accomplish service, and service by publication or mail is not
otherwise permitted under section (g), the party may file a motion, supported by an affidavit of
the person attempting service, for an order for substituted service.

The exhibit filed by the prosecuting attorney is proof service was issued improperly and the
improper service was never received by the defendant.(see Exhibit filed by the plaintiff in the
original complaint). The plaintiff failed to “file a motion , supported by an affidavit” to receive
an “order for substituted service.” as required by Rule 4 — Process(f), Colo. R. Civ. P. 4.(f), (see
the docket sheet for this case). The plaintiff has a duty to conduct a prefile investigation before
filing. The plaintiff failed to conduct this investigation violating the defendants right to due
process. The judge also has a duty to assure service is made properly before being able to
establish jurisdiction. There was a bench warrant issued in direct effect to this improper service
of process. The jurisdictional challenge filed by the defendant addressed this fatal flaw and the

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judge continued in this case. The court didn’t follow procedure for proper service causing
extreme metal anguish to the defendant. The defendant is a single father and it would be
detrimental to him and his offspring if he was placed under arrest for an illegal bench warrant.
The defendant only received a summons after he contacted the courts in regards to a received
notice of a bench warrant for failure to appear that was mailed to him.

Rule 4 - Process, Colo. R. Civ. P. 4

Judicial Immunity Is Lost When a Judge Lacks Jurisdiction:

When a judge knows that he lacks jurisdiction, or acts in the face of clearly valid statutes
expressly depriving him of jurisdiction, judicial immunity is lost. Rankin v. Howard, (1980) 633
F.2d 844, cert den. Zeller v. Rankin, 101 S. Ct. 2020, 451 U.S. 939, 68 L. Ed 2d 326.

Some officers of the court urge that any act "of a judicial nature" entitles the Judge to absolute
judicial immunity. But in a jurisdictional vacuum, (that is absence of all jurisdiction) the second
prong necessary to absolute judicial immunity is missing. Stump v. Sparkman, id., 435 U.S. 349.
Where there is no jurisdiction, there can be no discretion, for discretion is incident to
jurisdiction." Piper v. Pearson, 2 Gray 120, cited in Bradley v. Fisher, 13 Wall. 335, 20 L. Ed.
646 (1872). A Judge must be acting within his jurisdiction as to subject matter and person,
to be entitled to immunity from civil action for his acts. Davis v. Burris, 51 Ariz. 220, 75
P.2d 689 (1938).

"No judicial process, whatever form it may assume, can have any lawful authority outside of the
limits of the jurisdiction of the court or judge by whom it is issued; and an attempt to enforce it
beyond these boundaries is nothing less than lawless violence." Ableman v. Booth, 21 Howard
506 (1859).

No man in this country is so high that he is above the law. No officer of the law may set that law
at defiance with impunity. All the officers of the government from the highest to the lowest, are
creatures of the law and are bound to obey it. United States v. Lee, 106 U.S. 196,220, 1 S.Ct.
240, 27 L.Ed. 171 (1882). Buckles v. King County 191 F.3d 1127, *1133 (C.A.9 (Wash.), 1999)
Purpose of statute that mandated that any person who under color of law subjected
another to deprivation of his constitutional rights would be liable to the injured party in an
action at law was not to abolish immunities available at common law but to ensure that
federal courts would have jurisdiction of constitutional claims against state officials. Act
March 3, 1875, 18 Stat. 470. Butz v. Economou 438 U.S. 478, 98 S.Ct. 2894 (U.S.N.Y.,1978).

The Court in Yates v. Village of Hoffman Estates, Illinois, 209 F. Supp. 757 (N.D. Ill. 1962)
held that "not every action by a judge is in the exercise of his judicial function. ... It is not a
judicial function for a judge to commit an intentional tort even though the tort occurs in
the courthouse. When a judge acts as a trespasser of the law, when a judge does not follow

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the law, the judge loses subject-matter jurisdiction and the judges' orders are void, of no
legal force or effect."

Simmons v. United States, 390 U.S. 377 (1968) "The claim and exercise of a Constitution right
cannot be converted into a crime"... "a denial of them would be a denial of due process of law".
Butz v. Economou, 98 S. Ct. 2-894(197-8); United State vs: Lee, 106- U.S. at 220, 1S. Ct. at

261 (1882). "No man [or woman] in this country is so high that he is above the law. No officer of
the law may set that law at defiance with impunity. All the officers of the government from the
highest to the lowest, are creatures of the law, and are bound to obey it."

Cannon v. Commission on Judicial Qualifications, (1975) 14 Cal. 3d_ 678, 694. Acts in excess
of judicial authority constitutes misconduct, particularly where a judge deliberately

disregards the requirements of fairness and due process.

Gonzalez v, Commission on Judicial Performance, {1983}-3-3-C- at- -- 3d 359,371,374. Acts in
excess of judicial authority constitutes misconduct, particularly where a judge deliberately
disregards the requirements of fairness and due process.

Eric Witt Objects To Having His Case Adjudicated In A Non- Court Of Record:

Eric Witt also object to the judge violating his right to due process by proceeding in a non- court
of record whereby plaintiff has been stripped of his Constitutional Right to "Due Process" of law
and forced to proceed under Statutory Law. When the court proceeds under statutory law the
court is a "Nisi Prius" non-court of record whereby the plaintiff is stripped of his "Constitutional
Rights" to Due Process

Nisi Prius Non- Court Of Record

A nisi prius court is a court that exist because the defendant failed to object. A rule of procedure
in courts is that if a party fails to object to something, then it means he agrees to it. A nisi
procedure is a procedure to which a person has failed to object (show cause) and therefore it
follows that the person agrees to it. Or, conforming to the format in the preceding paragraph, a
nisi procedure is a procedure to which a party agrees UNLESS he objects or shows cause. It is a
matter of right that one may demand to be tried in a court of record. By sheer definition, that
means that the court must proceed according to the common law (not the statutory law). The
only way that a court can suspend that right is by the prior agreement of the parties. For tactical
reasons, the court prefers to proceed according to statutory law rather than common law. The
only way it can do that is to obtain the prior agreement from the parties.

A Court Of Record:

A "court of record" is a judicial tribunal having attributes and exercising functions
independently of the person of the magistrate designated generally to hold it, and

proceeding according to the course of common law, its acts and proceedings being enrolled

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for a perpetual memorial. Jones v. Jones, 188 Mo.App. 220, 175 S.W. 227, 229; Ex parte
Gladhill, 8 Metc. Mass., 171, per Shaw, C.J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155
N.E. 688, 689.

Court Not Of Record:

Courts not of record are those of inferior dignity, which have no power to fine or imprison, and
in which the proceedings are not enrolled or recorded. 3 Bl. Comm. 24; 3 Steph. Comm. 383;
The Thomas Fletcher, C.C.Ga., 24 F. 481; Ex parte Thistleton, 52 Cal 225; Erwin v. U.S.,
D.C.Ga., 37 F. 488, 2 L.R.A. 229; Heininger v. Davis, 96 Ohio St. 205, 117 N.E. 229, 231.
"Inferior courts" are those whose jurisdiction is limited and special and whose proceedings are
not according to the course of the common law." Ex Parte Kearny, 55 Cal. 212; Smith v.
Andrews, 6 Cal. 652. The only inherent difference ordinarily recognized between superior and
inferior courts is that there is a presumption in favor of the validity of the judgments of the
former, none in favor of those of the latter, and that a superior court may be shown not to have
had power to render a particular judgment by reference to its record. Ex parte Kearny, 55
Cal. 212. Note, however, that in California 'superior court’ is the name of a particular court. But
when a court acts by virtue of a special statute conferring jurisdiction in a certain class of cases,
it is a court of inferior or limited jurisdiction for the time being, no matter what its ordinary
status may be. Heydenfeldt v. Superior Court, 117 Cal. 348, 49 Pac. 210; Cohen v. Barrett, 5
Cal. 195" 7 Cal. Jur. 579

"The judgment of a court of record whose jurisdiction is final is as conclusive on all the world as
the judgment of this court would be. It is as conclusive on this court as it is on other courts. It
puts an end to inquiry concerning the fact, by deciding it." Ex parte Watkins, 3 Pet., at 202-203.
[cited by SCHNECKLOTH v. BUSTAMONTE, 412 U.S. 218, 255 (1973)]

Common Law:

Common law is based on international laws that have been in place for centuries. It is recognized
in the Constitution for the United States of America. All mentions of law in the Constitution
refer to the common law, which was predominate practice at the time. Common law is rarely
used now because it is harder for judges to take advantage of people in favor of government.
After all, they are government employees. They know that they are merely magistrates in a
common law court and do not have the authority to make decisions or orders. Common law has
no statutes or codes and therefore, I' cannot be obligated to abide by them.

A real court of record is a court which must meet the following 5 criteria:
1. Generally has a seal.

2. Power to fine or imprison for contempt.

3. Keeps a record of the proceedings.

4. Proceeding according to the common law (not statutes or codes).

5. The tribunal is independent of the magistrate (judge).

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Definition of Due Process of Law:

"The essential elements of due process of law are notice, an opportunity to be heard, and the
right to defend in an orderly proceeding." Fiehe v. R.E. Householder Co., 125 So. 2, 7 (Fla.
1929). "To dispense with notice before taking property is likened to obtaining judgment without
the defendant having ever been summoned." Mayor of Baltimore vs. Scharf, 54 Md. 499, 519
(1880). "An orderly proceeding wherein a person is served with notice, actual or constructive,
and has an opportunity to be heard and to enforce and protect his rights before a court having
power to hear and determine the case. Kazubowski v. Kazubowski, 45 Ill.2d 405,259, N.E.2d
282, 290." Black's Law Dictionary, 6th Edition, page 500. "Aside from all else, 'due process'
means fundamental fairness and substantial justice. Vaughn v. State, 3 Tenn.Crim.App. 54,456
S.W.2d 879, 883." Black's Law Dictionary, 6th Edition, page 500.

Owen v. City of Independence. "The innocent individual who is harmed by an abuse of
governmental authority is assured that he will be compensated for his injury."

Ryan v. Commission on Judicial Performance, (1988) 45 Cal. 3d 518, 53-3. Before sending a
person to jail for contempt or imposing a fine, judges are required to provide due process of law,
including strict adherence to the procedural requirements contained in the Code of Civil
Procedure. Ignorance of these procedures is not a mitigating but an aggravating factor.

Duncan v. Missouri, 152 U.S. 377,382 (1894). Due process of law and the equal protection of the
laws are secured if the laws operate on all alike, and do not subject the individual to an arbitrary
exercise of the powers of government.”

Demands:

The defendant demands the Judge to dismiss charges by the plaintiff in this frivolous case against
him and to cure all injuries accumulated. The subject matter jurisdictional challenge was not
properly answered by the plaintiff and illegally answered by the judge. There is no injured citizen
of fact and lacks personal jurisdiction from improper service. The law being used to prosecute the
defendant lack three elements to be a valid law. These demands are back with support due to the
facts witnessed by the defendant as follows;

The court allowing initiation of the case without an injury in fact of a citizen.

The plaintiff is a B.A.R.member. B.A.R. members are expected to perform a reasonable “Pre-
filing investigation.”. FRCP Rule 11 states in part that attorneys must not file suit without
evidentiary support for the allegations contained in the complaint. This is relevant because there
is no evidence of an injured party or proper service in turn lacking ALL jurisdiction.

The judge unlawfully acting outside his jurisdiction in attempt to establish jurisdiction outside of
common law. This being after the judge read the defendants jurisdictional challenge with .an
affidavit immediately after filing with the clerk in live court, then answered on the plaintiff's
behalf, yet doing so conspicuously reflects the judges partiality to the prosecution.. Be it as the
judge read the defendants document in live court, it is reasonable to the judges knowledgeability
of the defendants jurisdictional posture as the first paragraph states: "Eric Witt by limited
appearance to this matter in this court of record with clean hands, without prejudice and with all
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rights reserved including UCC 1-308 in dealing with this court, in pro per, sui juris (NOT PRO
SE....". This is foundational for malice intent as any reasonable man/woman would see the motive
of the judge to deviously manipulate jurisdiction deceptively as to ensure the case is not dismissed
legitimately in absence of an injured party, but to affix jurisdiction to assert the defendant would
likely be fined or arrested. Additional conflicting circumstances in the court were as follows:

The defendants file stamped copy of the jurisdictional challenge was withheld, not to be released
until signing the courts document. The document to be signed said to be "only" for court records
of receipt of the defendants file stamped jurisdictional challenge. Deceitfully stating the document
to be signed is for release of those already rightful documents of the defendant. The document
coerced for signing by employees exserting malicious deception to the defendant. Deception
motivate from the fact by him signing it unwittingly dragooned him into a jurisdiction that incurs
indefinite injury. The incontrovertible fact of foresaid malice outcome was obtained unlawfully
and would indubitably be further injury to the defendant. Eric Witt DOES NOT AGREE WITH
ANY CONTRACTS HE DIDN’T KNOWINGLY AND WILLINGLY ENTER. Though the
undeniable fact there is no citizen of injury from the initiation of this case and shall trump all
actions after the commencement of claim. Deeming all this devious behavior performed by bad
actor public servants as null and void. Government officials cannot have immunity for violating
the Constitution that was set up to protect people of the States. Government officials cannot have
immunity from laws they have on the books to protect people from injuries. The government has
no immunity when they operate outside of their jurisdiction. The government has no complaints
from citizens that were injured by the defendant and therefore are operating outside of their
jurisdiction. The government has no immunity when they operate outside of their legal jurisdiction.

Government officials lost immunity when they proceeded in a non- court of record to strip the
defendant of his right to due process. I demand to have the defendant’s charges by the plaintiff in
this case be dismissed for lack of personal and subject matter jurisdiction due to improper service
and not producing an injured party. These demands are also supported by Davis v. Wechler, 263
U.S. 22, 24; Stromberb v. California, 283 U.S. 359; NAACP v. Alabama, 375 U.S. 449: The
assertion of rights, when plainly and reasonably made, are not to be defeated under the name of
local practice. The defendant, in this matter, demands the Court to dismiss this case for lack of
both personal and subject matter jurisdiction. In the event the court decides to continue this
frivolous case the defendant demands to strike the progressions of the court subsequent to the
jurisdictional challenge with an affidavit and allow this matter to be heard in a common law court
of record, and Constitutional provisions to be observed.

12/21/2022

Eric Witt

Without Prejudice UCC 1-308

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Bennett Municipal ~surt Minute Order WW ant
NAME : iT, f-

case #07 FI |

Additional Conditions:

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PROSECUTOR pate: 1-0 /- /D YA |
Pre-Trial Conference Held with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:
Points Fine
Count 1:
Amend to:
Count 2:
Amend to: _
Additional Recommendations:
Stipulations:
JUDGE
Oo ACCEPT Prosecutor's recommendation and Defendant Plea
oO REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
Oo ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: cc | $35.00
Count 1: SOE | $25.00
OJW | $30.00
Additional BW | 575.00
Points Fine CS | $25.00
Default | $30.00
Count 2: | Deferred | $75.00
FTA | $25.00
FTP | $25.00

Total

Due

COURT CLERK

DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT

BALANCE

INITIALS/NOTES

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Bennett Municipal Court
BENNETT MUNICIPAL COURT 207 Muegge Way

Bennett, CO 80102
PAYMENT AGREEMENT & SENTENCE CONDITIONS 303-644-3249 x1001

DEFENDANT NAME : WW tT E CASE eDlot3/

Description Amount Due . Note i / of if / "sy 4odk A
Fine Amount $ Connnud RP [YS )/i-¥7.4
Court Cost $35 __
Stay of Execution $25 IDVIOD < SdGt wo) DIZ.
Deferred Judgment Fee $50 Months \_/Review On:
Community Service $25 Hours Completed By:
Default Judgment Fee $30 ‘ :
Bench Warrant $75 Mo plea enteea7
Other
Pay Today: and/or
TOTAL DUE $ Payment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS
Class DAlcohol /Drug .
O Theft Day/Hours Completed By-
—_____X Month
Drug Testing/UA For .
months Completed By:
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date: /L- a /- 2022
Defendant bu [ bh tithort Pet 5 vdice Parent of Minor

All Payments should be malted Gi BOA Bennett Municipal Court

207 Muegge Way

Bennett, CO 80102
or can be made online with a credit card at www.TownofBennett.org. Please note there is a
transaction fee for all credit card payments.

COURT CLERK
DATE FINES ccs SOE FEES FEES TTLDUE |PAYMENT/BALANCE |INITIALS/NOTES

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Bennett Municipal Court Minute Order

vame Witt, E

case #: Bde 731

PROSECUTOR DATE: /- R57“ AD2-3

Pre-Trial Conference Held with Prosecutor Joe Lico:
Defendant enters following plea with additional recommendations:

Points Fine
Count 1:
Amend to:
Count 2:
Amend to:
Additional Recommendations:
Stipulations:
JUDGE
D0 ACCEPT Prosecutor's recommendation and Defendant Plea
Oo REJECT Prosecutor's recommendation and Defendant Plea COURT COSTS (circle)
oO ACCEPT Defendant Plea (No Prosecutor Requested) Jury Trial ($25/$75)
Points Fine
Additional Order: cc | $35.00
Count 1: foem Bay. ~NG ~ SOE | $25.00
—— t T
. OJW | $30.00
__ ~
Additional <e7_ la — GPM Bw | $75.00
, Points Fine CS | $25.00
ft R oy 2) 5.) Default | $30.00
Count 2: a Deferred | $75.00
. FTA .
fF] Any, SoS QAC: $25.00
/ ,— FTP | $25.00
Additional Conditions: —
Total Due 5
COURT CLERK
TTL
DATE FINES | CCS SOE FEES | FEES | DUE PAYMENT | BALANCE | INITIALS/NOTES

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Bennett Municipal Court
BENNETT MUNICIPAL COURT 207 Muegge Way

Bennett, CO 80102
PAYMENT AGREEMENT & SENTENCE CONDITIONS 303-644-3249 x1001

DEFENDANT NAME : W it E case #01773 /

-B5S-A
Description Amount Due Note / Zh 0A °
Fine Amount $ A f|
Court Cost $35 NOT O19 \Y4 -ohey “171 A
Stay of Execution $25
Deferred Judgment Fee $50 Months Review On:
Community Service $25 Hours Completed By:
Default Judgment Fee $30 es yd TT) Qe LONN rl
Bench Warrant $75 F~D-)5-Oaste35 hr Bg v)
Other Wop MAR. 2%, APA:
ro r Tr ¥
Pay Today: and/or
TOTAL DUE $ Payment Arrangement: $ due by the
day of each month beginning until paid
in full.
ADDITIONAL CONDITIONS ee
Class DAlcohol /Drug .
0) Theft Day/Hours Conpistéel By:
x Month
Drug Testing/UA For Completed By:
months
No Further Violations Through

| agree to pay the total amount due on or before the due date above. | understand additional penalties noted above will be
enforced due to non-compliance with payment agreement or sentencing conditions.

Date:

Defendant Parent of Minor

Ail Payments should be mailed to: Town of Bennett Municipal Court

207 Muegge Way

Bennett, CO 80102
or can be made online with a credit card at www.TownofBennett.org. Please note there is a
transaction fee for all credit card payments.

COURT CLERK
DATE FINES ccs SOE FEES FEES TTLDUE |PAYMENT|BALANCE |INITIALS/NOTES

